
9 N.Y.2d 857 (1961)
In the Matter of David Karp, Appellant,
v.
William S. Hults, as Commissioner of Motor Vehicles of the State of New York, Respondent.
Court of Appeals of the State of New York.
Argued March 27, 1961.
Decided April 20, 1961.
George H. Rosen for appellant.
Louis J. Lefkowitz, Attorney-General (Philip J. Fitzgerald and Paxton Blair of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order affirmed, without costs; no opinion.
